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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re                                                     Chapter 11

    AMERIFIRST FINANCIAL, INC., et al.,1                      Case No. 23-11240 (TMH)

    Debtors.                                                  (Jointly Administered)

                                                              Re: D.I. 142



                                           NOTICE OF SERVICE

            PLEASE TAKE NOTICE, that on September 20, 2023, Eric Bowlby, by and through its

undersigned counsel, caused the: (i) Interested Party Eric Bowlby’s Second Document Production

Requests Directed to Amerifirst National, Inc.; (ii) Interested Party Eric Bowlby’s Second

Document Production Requests Directed to Jeffrey Dane, (iii) Interested Party Eric Bowlby’s

Second Document Production Requests Directed to Phoenix 1040, LLC, (iv) Interested Party Eric

Bowlby’s Second Document Production Requests Directed to T. Scott Avila, (v) Interested Party

Eric Bowlby’s First Document Production Requests Directed to Paladin Management Group,

LLC, and (vi) Interested Party Eric Bowlby’s First Document Production Requests Directed to

David Sloane to be served in the manner indicated upon the following counsel of record:

            Laura Davis Jones
            David M. Bertenthal
            Timothy P. Cairns
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 The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are: Phoenix 1040
LLC (2550); and AmeriFirst Financial, Inc. (4557). The location of Debtor AmeriFirst Financial, Inc.’s principal place
of business and the Debtors’ service address in these chapter 11 cases is 1550 McKelleps Road, Suite 117, Mesa,
Arizona 85203.

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Dated: September 21, 2023          PASHMAN STEIN WALDER HAYDEN, P.C
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                                  -and-

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                                  Counsel to Eric Bowlby, on behalf of himself and other displaced
                                  shareholders of AmeriFirst Financial, Inc. .




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